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                 IN THE UNITED STATES COURT OF APPEALS
                         FOR THE FOURTH CIRCUIT

                                       )
        In re SEALED,                  )
                                       )               No. 2020-_____
                         Petitioner.   )
                                       )         [No. 1:20-cv-00066]
        _______________________________)


                PETITION FOR A WRIT OF MANDAMUS TO THE
                 UNITED STATES DISTRICT COURT FOR THE
                 WESTERN DISTRICT OF NORTH CAROLINA



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              Petitioner filed her complaint on the public docket. As of this

        filing, Petitioner’s complaint and initial filings may still be publicly

        accessed on third-party PACER-monitoring websites.




              1  Pursuant to Fed. R. App. P. 25, Petitioner is redacting all
        information taken from the sealed district court docket, including the
        facts and procedural history pertinent to this petition. Petitioner is
        including with her redacted public filing a sealed, highlighted version of
        the same filing and a sealed appendix that includes copies of (1) the
        district court docket, (2) the complaint, and



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                                       ARGUMENT

              An appellate court has the power under 28 U.S.C. § 1651(a) to

        issue a writ of mandamus directing the conduct of a district court where

        (1) the petitioner has a “clear and indisputable” right to relief; (2) there

        are “no other adequate means to attain the relief”; and (3) mandamus

        relief is otherwise “appropriate under the circumstances.” Cheney v.


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        United States Dist. Court for D.C., 542 U.S. 367, 380–81 (2004).

        Although mandamus is an extraordinary remedy reserved for

        exceptional circumstances, see id. at 380, it is evident from the sealed

        docket, on its face, that such a remedy is warranted here.

              Most significantly, the ongoing sealing of Petitioner’s case violates

        the “clear and indisputable” First Amendment and common law rights

        to open judicial proceedings. Id. at 381.

              “It is well settled that the public and press have a qualified right

        of access to judicial documents and records filed in civil and criminal

        proceedings.” Co. Doe v. Pub. Citizen, 749 F.3d 256, 265 (4th Cir. 2014);

        see also Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 580 n.17

        (1980). This right “springs from the First Amendment and the common-

        law tradition that court proceedings are presumptively open to public

        scrutiny.” Co. Doe, 749 F.3d at 265.

              As this Court has explained, public access to court proceedings

        “promotes not only the public’s interest in monitoring the functioning of

        the courts but also the integrity of the judiciary.” Id. at 266. Such

        public access “serves to promote trustworthiness of the judicial process,

        to curb judicial abuses, and to provide the public with a more complete


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        understanding of the judicial system, including a better perception of

        fairness.” Id. (quoting Littlejohn v. Bic Corp., 851 F.2d 673, 682 (3d Cir.

        1988)). This Court has further underscored, relying on the words of

        Seventh Circuit Judge Easterbrook, that “[t]he political branches of

        government claim legitimacy by election, judges by reason. Any step

        that withdraws an element of the judicial process from public view

        makes the ensuing decision look more like a fiat and requires rigorous

        justification.” Id. (quoting Hicklin Eng’g, L.C. v. Bartell, 439 F.3d 346,

        348 (7th Cir. 2006)).

              Given these considerations, the Court has cautioned that the

        public’s right to open judicial proceedings “may be abrogated only in

        unusual circumstances.” Id. (quoting Stone v. Univ. of Md. Med. Sys.

        Corp., 855 F.2d 167, 182 (4th Cir. 1988)). Under the common law, there

        is a presumption of public access to all judicial documents and records,

        which “can be rebutted only by showing that ‘countervailing interests

        heavily outweigh the public interests in access.’” Id. (quoting Rushford

        v. New Yorker Magazine, Inc., 846 F.2d 249, 253 (4th Cir. 1988)).

              Under the First Amendment, the standard is even more rigorous:

        sealing is justified only if it is “necessitated by a compelling government


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        interest” and the denial of access is “narrowly tailored to serve that

        interest.” Id. (quoting In re Wash. Post Co., 807 F.2d 383, 390 (4th Cir.

        1986)); see also Press-Enter. Co. v. Superior Court, 464 U.S. 501, 510

        (1984). This exacting standard safeguards First Amendment interests

        in cases that have been historically open to the press and public, and in

        cases that implicate the “common core purpose of assuring freedom of

        communication on matters relating to the functioning of government.”

        In re the Reporters Comm. for Freedom of the Press, et al, 773 F.2d 1325,

        1331 (D.C. Cir. 1985) (quoting Richmond Newspapers, 448 U.S. at 575).

              Given the importance of these protected rights and traditions,

        courts are required to enforce certain procedural safeguards before

        partially, or completely, closing a judicial proceeding to the public. See

        generally Robert Timothy Reagan, Fed. Judicial Ctr., Sealing Court

        Records and Proceedings: A Pocket Guide 19–22 (2010); see also

        W.D.N.C. Civ. Rule 6.1. Among these safeguards, courts require the

        following steps prior to sealing:

              1.   Absent authorization by statute or rule, permission to seal

        must be given by a judicial officer. See Media Gen. Operations, Inc. v.

        Buchanan, 417 F.3d 424, 429 (4th Cir. 2005) (“The decision to seal


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        documents must be made after independent review by a judicial

        officer . . . .”); Baltimore Sun Co. v. Goetz, 886 F.2d 60, 65–66 (4th Cir.

        1989).

              2.   Motions to seal should be publicly docketed, and members of

        the public and the press should be given the opportunity to be heard on

        the motions. Baltimore Sun Co., 886 F.2d at 64; In re Wash. Post Co.,

        807 F.2d at 390; In re Knight Publ’g Co., 743 F.2d 231, 234 (4th Cir.

        1984).

              3.   There should be a public record of what is sealed, why it is

        sealed, and the specific reasons why the district rejected less restrictive

        alternatives to sealing, sufficient for appellate review. Media Gen.

        Operations, Inc., 417 F.3d at 429 (noting that decision to seal must be

        “supported by findings and conclusions specific enough for appellate

        review”); In re Wash. Post Co., 807 F.2d at 391 (“[I]f the district court

        decides to close a hearing or seal documents, ‘it must state its reasons

        on the record, supported by specific findings.’” (quoting In re Knight

        Publ’g Co., 743 F.2d at 234)).

              4.   Sealing should be narrowly tailored to the reasons justifying

        sealing and should be no more extensive than necessary. Media Gen.


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        Operations, 417 F.3d at 429; In re Wash. Post Co., 807 F.2d at 391; In re

        Knight Pub. Co., 743 F.2d at 234–35.

              In this case, the sealed docket speaks for itself. It is facially

        evident that the procedures necessary to safeguard crucial First

        Amendment protections were not followed




              Even if those procedures were followed, sealing the entire

        proceeding to the public cannot be justified by any compelling

        governmental interest, and no such interest was articulated.




              Moreover, the First Amendment interest is further implicated in

        situations where not just an implied right of access to the courts, but

        the expressly protected right of “freedom of speech,” is at issue. See


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        Reporters Comm. for Freedom of the Press, 773 F.2d at 1332 n.5; cf.

        Seattle Times Co. v. Rhinehart, 467 U.S. 20, 33–34 (1984). Because the

        sealing of Petitioner’s entire case directly implicates her First

        Amendment right to freedom of expression, it must be justified by

        compelling circumstances. As discussed above, those circumstances

        were not considered, and are not present here.

              As a result, the sealing shrouds issues of significant public policy

        concern in unjustified secrecy. Underlying the right of open judicial

        proceedings “is the common understanding that ‘a major purpose of

        th[e] [First] Amendment was to protect the free discussion of

        governmental affairs.’” Globe Newspaper Co. v. Superior Court, 457

        U.S. 596, 604 (1982) (quoting Mills v. Alabama, 384 U.S. 214, 218

        (1966)). “By offering such protection, the First Amendment serves to

        ensure that the individual citizen can effectively participate in and

        contribute to our republican system of self-government.” Id.

              Contrary to these principles, the sealing of this case inhibits

        informed public discussion of issues on which members of Congress and

        the media have repeatedly expressed concern. See, e.g., Letter from

        Reps. Jerrold Nadler, F. James Sensenbrenner, Jr., Henry C. ‘Hank’


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        Johnson, Jr., and Mary Gay Scanlon to James C. Duff, the Hon. Julie A.

        Robinson, and the Hon. Timothy M. Tymkovich (Feb. 6, 2020); Letter

        from Sens. Dianne Feinstein, Patrick Leahy, Richard J. Durbin,

        Sheldon Whitehouse, Amy Klobuchar, Christopher A. Coons, Richard

        Blumenthal, Mazie K. Hirono, Cory A. Booker, and Kamala D. Harris to

        James C. Duff (Jan. 3, 2019); Letter from Sens. Charles E. Grassley and

        Dianne Feinstein to James C. Duff (Feb. 9, 2018); see also Andrew

        Kragie, Harassment Saga Sparks Calls for Swifter Probes of Judges,

        LAW360 (Mar. 5, 2020).

              For these reasons, Petitioner’s right to relief is “clear and

        indisputable.” Cheney, 542 U.S. at 381.

              The other factors necessary for mandamus relief are also satisfied.

        As for the second factor, Petitioner has “no other adequate means to

        attain the relief” she seeks. Id. at 380.




                                  Thus, Petitioner’s sole path to relief lies in this

        Court through a writ of mandamus.


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              Finally, mandamus relief is “appropriate under the

        circumstances.” Id. at 381. Relief is appropriate because the actions

        taken in sealing Petitioner’s case fall outside of accepted judicial norms.

        Moreover, the constitutional violations resulting from sealing are

        especially egregious given the nature of the public policy concerns

        implicated in the substance of the proceeding.

              For these reasons, mandamus relief is warranted here.

                                     CONCLUSION

              Petitioner respectfully requests that this Court issue a writ of

        mandamus directing the district court to unseal the docket and to

        consider the sealing of judicial records on a case-by-case basis, in

        accordance with this Court’s procedural safeguards, the common law,

        and the First Amendment.

                                                        Respectfully Submitted,

                                                        /s/ Cooper Strickland

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                              CERTIFICATE OF SERVICE
              I, Cooper Strickland, hereby certify that on this 18th day of

        March, 2020, a copy of this Petition for a Writ of Mandamus to the

        United States District Court for the Western District of North Carolina

        and a copy of the district court docket were served on respondents by

        USPS First Class Mail. Respondents were previously served by

        certified mail with copies of Petitioner’s initial filings.

                                                   /s/ Cooper Strickland
                                                   Cooper Strickland




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                          CERTIFICATE OF COMPLIANCE
              I certify that this brief complies with the type-volume limitations

        of Fed. R. App. P. 21(d)(1) because it contains 2,068 words, excluding

        the parts of the brief exempted by Fed. R. App. P. 32(f). This brief

        complies with the typeface and type-style requirements of Fed. R. App.

        P. 32(a)(5) & (6) because it has been prepared in a 14-point,

        proportionally spaced typeface.

                                                  /s/ Cooper Strickland
                                                  Cooper Strickland




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